    Case: 1:14-cv-05642 Document #: 26 Filed: 10/10/14 Page 1 of 1 PageID #:177                        ^c
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                       IN TIIE TINITED STATES DISTRICT COURT
                     F'OR TIIE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DTVISION

HOLT HEALTHCARE
MANAGEMENT SERVICES, INC.,
on behalf of plaintiffand
the class members defined herein,                           l4-cv-5642

               Plaintifl

               v.                                           Judge Norgle
                                                            Magistrate Judge Cox
SHARP MANAGEMENT GROUP, INC.,
and JOHN DOES 1-10,

               Defendants.

                           ORDER ENTERING DEFAULT JUDGMENT

        This matter coming to be heard on prove-up on damages and fees and costs in support      of
plaintifPs Motion for Entry of Order of Default, all parties having notice and the Court being
fully advised in its premises, IT IS HEREBY ORDERED:

        Default judgment is entered against defendant Sharp Management Group, Inc., and in
plaintiffs favor, in the amount of $1,500.00 for plaintiffin statutory damages, plus $3,029.00 in
attorney's fees and $486.31 in costs of suit.




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                                              Judge Charles Norgle
